














COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-08-271-CV



STATE OFFICE OF RISK MANAGEMENT
	
APPELLANT



V.



CONSTANCE E. MCKINNEY
 	APPELLEE

 
	

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FROM THE &nbsp;67TH DISTRICT COURT OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered “Appellant’s Motion To Dismiss Appeal.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 
Tex. R. App. P.
 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by appellant
, for which let execution issue. &nbsp;
See 
Tex. R. App. P.
 
43.4.



PER CURIAM

PANEL: &nbsp;LIVINGSTON, DAUPHINOT, and HOLMAN, JJ. &nbsp;



DELIVERED: &nbsp;November 20, 2008 &nbsp;

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




